                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA     )
                             )
     v.                      )                 NO. 3:25-cr-00115
                             )
KILMAR ARMANDO ABREGO GARCIA )                 JUDGE CRENSHAW
                             )

         UNITED STATES’ REPLY TO DEFENDANT’S OPPOSITION TO
              GOVERNMENT’S MOTION FOR REVOCATION

      The United States submits this reply to Defendant Kilmar Abrego Garcia’s

Opposition to the Government’s Motion for Revocation, (Docket No. 79). For the reasons

outlined in the United States’ opening brief (Docket No. 70), and as further emphasized

herein, this Court should revoke the Magistrate Judge’s release order, which denied the

Government’s motion for pretrial detention. (Docket No. 43).

      Defendant Kilmar Abrego Garcia should be detained pending trial because there is

no combination of bail conditions that can reasonably assure either the safety of the

community or the defendant’s appearance in future court proceedings. In finding to the

contrary, the Magistrate Judge’s opinion committed numerous factual and legal errors, and

nothing in the defendant’s opposition can justify the Magistrate Judge’s flawed analysis.

Rather, the defendant now asks this Court to adopt a wholly unprecedented legal standard

that has never been applied in the bail hearing context, which even the Magistrate Judge

declined to apply to this case. Additionally, the defendant tries and fails to justify the

Magistrate Judge’s problematic approach to the overwhelming evidence that the

Government presented at the detention hearing, which compellingly demonstrated that the



  Case 3:25-cr-00115     Document 89      Filed 07/14/25   Page 1 of 8 PageID #: 1029
defendant should be detained. For these reasons, the Court should revoke the Magistrate

Judge’s release order and grant the Government’s motion for pretrial detention.

       A.   The Defendant’s Requested Legal Standard for Detention Hearings is
            Wrong and Completely Unprecedented.

       To begin with, the defendant claims that United States v. Fields, 53 F.4th 1027 (6th

Cir. 2022) is “recent” and “binding” precedent from the Sixth Circuit that “dictates a

contrary result” here. (Docket No. 79 at 12). This claim about the applicable law is

misleading and completely off the mark. The Sixth Circuit’s statutory interpretation in

Fields related to a completely different statute—the Armed Career Criminal Act, 18 U.S.C.

§ 924(e)—and applied an elements-based approach to the sentencing enhancement statute,

finding that the term “involves” in 18 U.S.C. § 924(e) means “necessarily entails.” 53 F.4th

at 1048, 1056. Importantly, the Sixth Circuit has never extended Fields to cases involving

the Bail Reform Act, and courts have continued to apply Fields within its limited scope to

the sentencing context. See, e.g., United States v. Jamison, 85 F.4th 796, 800 (6th Cir.

2023) (citing Fields as precedent to use the categorical approach when determining whether

a prior conviction qualifies as a violent felony or serious drug offense); United States v.

Brown, No. 21-1663, 2023 WL 1861318, at *8-9 (6th Cir. Feb. 9, 2023) (analyzing a serious

drug felony under the First Step Act and declining to apply Fields to a different sentencing

enhancement). Other circuits and district courts have also referenced Fields in that same

limited scope. See United States v. Miles, 75 F.4th 1213 (11th Cir. 2023) (citing Fields as

an example to apply the narrower standard to determine what constitutes a serious drug

offense); United States v. Paladin, No. 09-cr-186, 2024 WL 4851313 (D.N.H. Nov. 21,

2024) (citing Fields for distinctions between felony drug convictions and serious drug felony

                                             2
  Case 3:25-cr-00115      Document 89      Filed 07/14/25    Page 2 of 8 PageID #: 1030
convictions); United States v. Ruiz, No. 1:21-cr-00426, 2023 WL 3871721 (N.D. Ga., Mar.

27, 2023) (citing Fields for when increased punishments should apply in a drug case); United

States v. Delpriore, 662 F. Supp. 3d 1021 (D. Alaska, Mar. 20, 2023) (citing Fields for the

validity of the § 851 sentencing enhancement). Not a single court in the country—not even

Magistrate Judge Holmes in her release order—has adopted the strict elements-based

approach of Fields for its analysis about what the term “involves” means as it pertains to 18

U.S.C. § 3142(f).     Meanwhile, courts across the country have routinely applied the

persuasive analysis in United States v. Watkins, 940 F.3d 152 (2d Cir. 2019). To the

Government’s knowledge, not a single court has ever declined to follow Watkins’s reasoned

analysis, until the Magistrate Judge’s opinion in this case.

       To accept the defendant’s interpretation of the statute would lead to wildly

inconsistent and absurd results, including different meanings of the term “involved” between

18 U.S.C. § 3142(c)(1)(B) and 18 U.S.C. § 3142(f)(1)(E). 940 F.3d at 166-67. As Watkins

rightly points out, if Congress wanted courts to apply an elements-based approach to 18

U.S.C. § 3142(f), it could have specifically done so. See id. at 166 n.70 (explaining that

other sections of the Bail Reform Act use the phrases “that has an element” or “that, by its

nature, involves”). Additionally, if the Court were to accept the defendant’s invitation to

import an elements-based analysis into the Bail Reform Act, it would significantly hamstring

the Court’s ability to detain violent criminals who are charged with dangerous offenses.

Importing the Fields rule into 18 U.S.C. § 3142(f), for example, would mean that the

Government would be unable to seek detention for violent shooters who are charged with

being a felon in possession of ammunition, 18 U.S.C. § 922(g), merely because the elements


                                              3
  Case 3:25-cr-00115      Document 89       Filed 07/14/25     Page 3 of 8 PageID #: 1031
of the offense do not “necessarily involve” a firearm. See id at 167. (“Here, the conduct

underlying Watkins’s possession-of-ammunition charge plainly involved the use of a

firearm.    After all, Watkins discharged no fewer than nine bullets from an illegally

possessed firearm.”). Or, perhaps more relevantly here, it would mean that a defendant who

deliberately victimizes a minor—for example, by intentionally defrauding a child, see 18

U.S.C. § 1343—could argue that their crime did not “involve” a minor because the statutory

offense does not require that the victim be a child. That result, which is irrational on its

face, would also be contrary to the fact-based nature of the Bail Reform Act inquiry in every

other respect. It would make no sense for factors like the defendant’s family ties, medical

history, employment, and so forth to turn on the real-world facts relating to those factors,

whereas consideration of the offense conduct would be abstracted to the statutory elements.

The Bail Reform Act asks courts to consider who the defendant is and what he or she is

alleged to have done, and that inquiry is possible only if the Court looks beyond the bare

elements of the charged statutes. This Court should reject the defendant’s nonsensical and

dangerous request to improperly restrict the Court’s ability to detain defendants under the

Bail Reform Act.

       B.    The Evidence Overwhelmingly Shows that the Defendant Should be
             Detained

       More fundamentally, the defendant’s opposition fails to justify the Magistrate Judge’s

improper and speculative findings about the reliability of the Government’s evidence and

failure to evaluate the evidentiary record as a whole. The defendant argues that the Court

in a bail proceeding need not credit evidence that is unreliable, or otherwise accept a

“confluence of weak evidence that, even taken together, fails to reach a preponderance.”

                                             4
  Case 3:25-cr-00115      Document 89      Filed 07/14/25    Page 4 of 8 PageID #: 1032
(Docket No. 79 at 16-17). But that is not the factual record that was put before the

Magistrate Judge at the detention hearing in this case. Rather, the Government’s proof at

the detention hearing was overwhelming, corroborated, and otherwise uncontradicted by

anything else in the record.

       For example, the Magistrate Judge found that the Government failed to prove by a

preponderance of the evidence that the human smuggling crimes charged in the Indictment

involved any minor victims. But as the Government pointed out in its opening brief, there

was a wealth of evidence demonstrating that this years-long human smuggling operation

involved minor victims, including, among other things: (1) testimony from multiple

cooperating witnesses who directly participated in the human smuggling operation with the

defendant for years and discussed minor victims being transported; (2) specific testimony

from cooperating witnesses about how the defendant acted sexually inappropriate towards

female minor victims; (3) the defendant used his own children as cover during the trips; (4)

testimony from NV, who told the Government that the defendant solicited nude images from

her when she was only 15 years old and also solicited her to participate in the alien

smuggling scheme; and (5) testimony and physical evidence from a traffic stop in Tennessee

demonstrating that a 15-year old was being smuggled during that trip. (See Docket No. 70

at 21-23). Based on this proffered evidence, the Government at a minimum should have

been granted the right to a detention hearing under 18 U.S.C. § 3142(f).

       Like the Magistrate Judge’s opinion, the defendant attempts to downplay the

significance of perhaps the most powerful evidence against the defendant—multiple

accomplice witnesses who will testify about participating in the human smuggling operation


                                             5
  Case 3:25-cr-00115      Document 89      Filed 07/14/25    Page 5 of 8 PageID #: 1033
with the defendant for years. (See Docket No. 79 at 17-18). But as the Court is well aware,

testimony from accomplice witnesses can be highly probative given their ability to tell the

jury about their first-hand knowledge of the defendant’s participation in the charged

offenses. For this reason, the Sixth Circuit has repeatedly held that “the uncorroborated

testimony of an accomplice may support a conviction under federal law.” United States v.

Gallo, 763 F.2d 1504, 1518 (6th Cir. 1985); see also United States v. Scott, 716 F. App’x

477, 485 (6th Cir. 2017) (citing Gallo). Months in advance of a trial, the Magistrate Judge

had no reason to discredit the proffered testimony from cooperating witnesses that the human

smuggling operation involved minor victims, particularly given that the testimony on this

point was corroborated in numerous respects, with no evidence in the record whatsoever to

the contrary. (See Docket No. 70 at 26-29). The Magistrate Judge’s opinion essentially

faulted the Government for failing to call its cooperating witnesses to testify at a hearing,

merely to be granted the right to seek a detention hearing.

       Finally, in addition to be consistent with the evidence introduced at the hearing, it is

also consistent with common sense that minor victims, including unaccompanied minors,

were smuggled as part of this sprawling human smuggling operation. The Indictment

alleges that the charged human smuggling operation began at least in or around 2016 and

continued for nearly a decade until in or around 2025. (Docket No. 3 at ¶ 1). During this

timeframe, the human smuggling operation smuggled “thousands of undocumented aliens”

for profit. (Docket No. 3 at ¶ 7). The Magistrate Judge’s opinion implies that not a single

minor victim was ever smuggled as part of this operation for nearly a decade. Not a single

minor victim, despite the hundreds of thousands of unaccompanied minors that have been


                                              6
  Case 3:25-cr-00115      Document 89       Filed 07/14/25    Page 6 of 8 PageID #: 1034
encountered at the southwest border during that time frame. 1 On its face, that proposition

is facially incredible. Simply put, the Magistrate Judge’s factual findings were completely

inconsistent with the weight of the evidence and simple common sense.

        The Magistrate Judge’s findings regarding the defendant’s danger to the community

and risk of flight suffered from the same flaws. The Government presented evidence at the

detention hearing relating to the defendant’s possession of guns during the smuggling

conspiracy, his sexual advances towards minor girls, his solicitation of child pornography

from a 15-year old girl, his disturbing history of domestic violence and abuse, obstruction-

related conduct during the course of the conspiracy, false statements to law enforcement,

and membership in MS-13—a violent and dangerous transnational criminal enterprise.

(See Docket No. 70 at 32-37). Based on the full and complete record, the Court cannot be

reasonably assured here that the defendant will refrain from committing additional crimes

and otherwise appear for all court proceedings in this case, especially given the potential

penalties and likelihood of deportation that he faces. In suggesting that the Court can rule

otherwise, the defendant attempts to explain away or downplay the impact of each individual

piece of evidence in isolation. But the record here, when viewed in its totality, compellingly

shows that the defendant should be detained pending trial. As the Government intends to

once again show during the hearing scheduled for July 16, 2025, the evidence shows that




1
  See CBP Data on Southwest Land Border Encounters, available at
https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters-fy22 (last visited
on July 11, 2025) (indicating that there were 152,057 unaccompanied minors encountered
at the border in FY 2022 and 146,925 unaccompanied minors encountered at the border in
2021).

                                              7
    Case 3:25-cr-00115    Document 89       Filed 07/14/25    Page 7 of 8 PageID #: 1035
there is no set of bail conditions that can reasonably assure the safety of the community or

the defendant’s appearance in court.

                                       CONCLUSION

       For the foregoing reasons, the United States respectfully requests the Court revoke

the magistrate judge’s order of release.

                                                       Respectfully Submitted,

                                                        /s/ Robert E. McGuire
                                                       Robert E. McGuire
                                                       Acting United States Attorney
                                                       719 Church Street, Suite 3300
                                                       Nashville, TN 37203

                                                       /s/ Jacob Warren
                                                       Jacob Warren
                                                       Co-Director, Task Force Vulcan

                                                       /s/ Christopher Eason
                                                       Christopher Eason
                                                       Co-Director, Task Force Vulcan

                                                       /s/ Jeremy Franker
                                                       Jeremy Franker
                                                       Deputy Director, Task Force Vulcan




                                             8
  Case 3:25-cr-00115      Document 89      Filed 07/14/25    Page 8 of 8 PageID #: 1036
